             Case 1:21-cv-00651-NRB Document 1 Filed 01/25/21 Page 1 of 15




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

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 ELAINE WANG,                                               :
                                                            :
                   Plaintiff,                               :   Civil Action No. ______________
                                                            :
 v.                                                         :   COMPLAINT FOR VIOLATIONS OF
                                                            :   SECTIONS 14(a) AND 20(a) OF THE
 QEP RESOURCES, INC., TIMOTHY J.                            :   SECURITIES EXCHANGE ACT OF
 CUTT, PHILLIPS S. BAKER, JR., JULIE A.                     :   1934
 DILL, JOSEPH N. JAGGERS, MICHAEL J.                        :
 MINAROVIC, MARY SHAFER-MALICKI,                            :   JURY TRIAL DEMANDED
 AND BARTH E. WHITHAM,                                      :
                                                            :
                   Defendants.                              :
 --------------------------------------------------------   :

        Elaine Wang (“Plaintiff”), by and through her attorneys, alleges the following upon

information and belief, including investigation of counsel and review of publicly-available

information, except as to those allegations pertaining to Plaintiff, which are alleged upon personal

knowledge:

        1.       This is an action brought by Plaintiff against QEP Resources, Inc., (“QEP or the

“Company”) and the members QEP’s board of directors (the “Board” or the “Individual

Defendants” and collectively with the Company, the “Defendants”) for their violations of Sections

14(a) and 20(a) of the Securities Exchange Act of 1934 (the “Exchange Act”), 15 U.S.C. §§ 78n(a),

78t(a), and SEC Rule 14a-9, 17 C.F.R. 240.14a-9 and 17 C.F.R. § 244.100, in connection with the

proposed merger between QEP and Diamondback Energy, Inc. and its affiliates (“Diamondback”).

        2.       Defendants have violated the above-referenced sections of the Exchange Act by

causing a materially incomplete and misleading Registration Statement on Form S-4 (the

“Registration Statement”) to be filed on January 22, 2021 with the United States Securities and

Exchange Commission (“SEC”) and disseminated to Company stockholders. The Registration
            Case 1:21-cv-00651-NRB Document 1 Filed 01/25/21 Page 2 of 15




Statement recommends that Company stockholders vote in favor of a proposed transaction

whereby Bohemia Merger Sub, Inc., a wholly owned subsidiary of Diamondback, will merge with

and into QEP with QEP surviving as a direct, wholly owned subsidiary of Diamondback (the

“Proposed Transaction”). Pursuant to the terms of the definitive agreement and plan of merger the

companies entered into (the “Merger Agreement”), each QEP stockholder will receive 0.050 of a

share of Diamondback common stock (the “Merger Consideration”).

       3.       As discussed below, Defendants have asked QEP’s stockholders to support the

Proposed Transaction based upon the materially incomplete and misleading representations and

information contained in the Registration Statement, in violation of Sections 14(a) and 20(a) of

the Exchange Act. Specifically, the Registration Statement contains materially incomplete and

misleading information concerning the analyses performed by the Company’s financial advisor,

Evercore Group L.L.C. in support of its fairness opinion.

       4.       It is imperative that the material information that has been omitted from the

Registration Statement is disclosed to the Company’s stockholders prior to the forthcoming

stockholder vote so that they can properly exercise their corporate suffrage rights.

       5.       For these reasons and as set forth in detail herein, Plaintiff seeks to enjoin

Defendants from taking any steps to consummate the Proposed Transaction unless and until the

material information discussed below is disclosed to QEP’s stockholders or, in the event the

Proposed Transaction is consummated, to recover damages resulting from the Defendants’

violations of the Exchange Act.

                                  JURISDICTION AND VENUE

       6.       This Court has subject matter jurisdiction pursuant to Section 27 of the Exchange

Act (15 U.S.C. § 78aa) and 28 U.S.C. § 1331 (federal question jurisdiction) as Plaintiff alleges

violations of Sections 14(a) and 20(a) of the Exchange Act and SEC Rule 14a-9.


                                                 2
             Case 1:21-cv-00651-NRB Document 1 Filed 01/25/21 Page 3 of 15




        7.       Personal jurisdiction exists over each Defendant either because the Defendant

conducts business in or maintains operations in this District, or is an individual who is either

present in this District for jurisdictional purposes or has sufficient minimum contacts with this

District as to render the exercise of jurisdiction over Defendant by this Court permissible under

traditional notions of fair play and substantial justice. The Company has hired Georgeson LLC as

its proxy solicitor, with headquarters in New York, New York. Further, the closing of the Proposed

Transaction will take place in the New York offices of the Company’s legal advisor, Akin Gump

Strauss Hauer & Feld LLP.

        8.       Venue is proper in this District under Section 27 of the Exchange Act, 15 U.S.C. §

78aa, as well as under 28 U.S.C. § 1391, because the conduct at issue occurred in this County, and

because Defendants transact business in this District.

                                             PARTIES

        9.       Plaintiff is, and has been at all relevant times, the owner of QEP stocks and has

held such stocks since prior to the wrongs complained of herein.

        10.      Individual Defendant Timothy J. Cutt has served as a member of the Board since

January 2019 and is the President and the Chief Executive Officer of the Company.

        11.      Individual Defendant Phillips S. Baker, Jr. has served as a member of the Board

since 2010.

        12.      Individual Defendant Julie A. Dill has served as a member of the Board since 2013.

        13.      Individual Defendant Joseph N. Jaggers has served as a member of the Board since

2019.

        14.      Individual Defendant Michael J. Minarovic has served as a member of the Board

since 2017.




                                                 3
         Case 1:21-cv-00651-NRB Document 1 Filed 01/25/21 Page 4 of 15




        15.     Individual Defendant Mary Shafer-Malicki has served as a member of the Board

since 2017 and as Board Chair since 2020.

        16.     Individual Defendant Barth E. Whitham has served as a member of the Board since

2019.

        17.     Defendant QEP a Delaware corporation and maintains its principal offices at 1050

17th Street, Suite 800, Denver, Colorado 80265. The Company’s stock trades on the NASDAQ

Stock Exchange under the symbol “QEP.”

        18.     The defendants identified in paragraphs 10-16 are collectively referred to as the

“Individual Defendants” or the “Board.”

        19.     The defendants identified in paragraphs 10-17 are collectively referred to as the

“Defendants.”

                               SUBSTANTIVE ALLEGATIONS

A.      The Proposed Transaction

        20.     QEP, operates as a crude oil and natural gas exploration and production company

in the United States. The company conducts exploration and production activities in the Permian

Basin in Western Texas; and Williston Basin in North Dakota. As of December 31, 2019, it had

estimated proved reserves of approximately 382.3 million barrels of oil equivalent. The company

sells oil, condensate, gas, and natural gas liquids to refiners, marketers, midstream service

providers, wholesale marketers, industrial users, local distribution companies, and utility and other

companies. QEP Resources, Inc. was incorporated in 2010 and is headquartered in Denver,

Colorado.

        21.     On December 21, 2020, the Company and Diamondback jointly announced the

Proposed Transaction:




                                                 4
      Case 1:21-cv-00651-NRB Document 1 Filed 01/25/21 Page 5 of 15




    MIDLAND, Texas, Dec. 21, 2020 (GLOBE NEWSWIRE) -- Diamondback
    Energy, Inc. (NASDAQ: FANG) (“Diamondback” or the “Company”) and QEP
    Resources (NYSE: QEP) (“QEP”) today announced that they have entered into a
    definitive agreement under which Diamondback will acquire QEP in an all-stock
    transaction valued at approximately $2.2 billion, including QEP’s net debt of $1.6
    billion as of September 30, 2020. The consideration will consist of 0.05 shares of
    Diamondback common stock for each share of QEP common stock, representing
    an implied value to each QEP stockholder of $2.29 per share based on the closing
    price of Diamondback common stock on December 18, 2020. The transaction was
    unanimously approved by the Board of Directors of each company.

    TRANSACTION HIGHLIGHTS:

•   Adds material Tier-1 Midland Basin inventory that competes for capital
    immediately in Diamondback’s portfolio
•   Accretive on all relevant 2021 per share metrics including cash flow per share, free
    cash flow per share and leverage, before accounting for synergies
•   Lowers 2021 reinvestment ratio and enhances ability to generate free cash flow, de-
    lever and return capital to stockholders
•   Significant, tangible annual synergies of at least $60 - $80 million comprised of:
•   G&A savings
•   Cost of capital and interest expense savings
•   Improved capital efficiency from high-graded development
•   Physical adjacencies to increase lateral lengths
•   Significant adjacent Permian midstream assets
•   Diamondback is expected to maintain its Investment Grade status
•   Significant majority of Diamondback’s capital will now be allocated to the
    Northern Midland Basin

    QEP HIGHLIGHTS:

•   Approximately 49,000 net acres in the Midland Basin primarily held by production
    allowing for capital efficient development
•   Q3 2020 average production of 48.3 MBO/d (76.7 MBOE/d); Q3 2020 average
    Permian production of 30.5 MBO/d (47.6 MBOE/d)
•   48 current drilled but uncompleted wells (“DUCs”); DUC balance expected to be
    worked down along with Diamondback’s DUC balance in 2021, lowering 2021
    reinvestment ratio
•   QEP’s Williston assets will be considered non-core and will be used to harvest cash
    flow or they will be divested, pending market conditions, with potential sale
    proceeds to be used towards debt reduction
•   Significant adjacent Permian midstream infrastructure
•   The pending QEP acquisition, together with the previously announced pending
    acquisition of assets from Guidon Operating LLC (“Guidon”), will bring
    Diamondback’s total leasehold interests to over 276,000 net surface acres in the
    Midland Basin (429,000 Midland and Delaware Basin net acres)


                                             5
  Case 1:21-cv-00651-NRB Document 1 Filed 01/25/21 Page 6 of 15




“The acquisition of QEP also checks every box of Diamondback’s corporate
development strategy. The business combination with QEP and the Guidon
transaction are accretive on all relevant 2021 financial metrics including free cash
flow per share, cash flow per share and leverage, even before accounting for
synergies. Most importantly, the addition of this Tier-1 resource competes for
capital right away in Diamondback’s current portfolio, and we will now be able to
allocate most of our capital to the high-returning Midland Basin for the foreseeable
future. Pro forma for these transactions, Diamondback is also expected to maintain
its Investment Grade status, ensuring access to capital. As stated in past public
commentary, Diamondback does not need to participate in industry consolidation
to simply get bigger. We participate in corporate development opportunities that
we firmly believe will increase the long-term value of our stockholders’
investment,” stated Travis Stice, Chief Executive Officer of Diamondback.

Mr. Stice continued, “Diamondback’s expectations for capital allocation in 2021
remain unchanged: we are expecting to hold pro forma fourth quarter 2020 oil
production flat through 2021 in the most capital efficient manner possible, which
has improved with today’s announcements. Our differentiated cost structure,
combined with the addition of this top quartile resource, will allow Diamondback
to consistently generate free cash flow and grow our return of capital program to
our stockholders.”

Tim Cutt, President and Chief Executive Officer of QEP, stated, “We believe that
this strategic merger with Diamondback, along with the addition of the Guidon
assets, provides our shareholders with an exciting investment opportunity, now and
in the future. The large contiguous Tier-1 acreage position in the Northern Midland
Basin is expected to lead to operational synergies and deliver capital efficiencies
beyond what each company could achieve independently. I believe in this
combination and look forward to being a long-term shareholder and watching the
value of the company grow with time.”

Mr. Cutt continued, “I also want to take this opportunity to recognize QEP’s
employees and publicly thank them for their dedication and hard work in driving
QEP’s success. Their tireless efforts over the past several years led to a culture of
peer leading operational excellence, safety and efficiency.”

TRANSACTION DETAILS

Under the terms of the definitive merger agreement, stockholders of QEP will
receive 0.05 shares of Diamondback common stock in exchange for each share of
QEP common stock, representing an implied value to each QEP stockholder of
$2.29 per share based on the closing price of Diamondback common stock on
December 18, 2020. Upon closing the transaction and excluding the impact of
shares to be issued in the previously announced acquisition of assets from Guidon,
Diamondback stockholders will own approximately 92.8% of the combined
company, and QEP stockholders will own approximately 7.2%.



                                         6
         Case 1:21-cv-00651-NRB Document 1 Filed 01/25/21 Page 7 of 15




       Diamondback remains committed to conservative financial management and is
       expected to maintain its Investment Grade credit ratings pro forma for the
       transaction.

       The transaction has been unanimously approved by the Boards of Directors of
       Diamondback and QEP and is expected to be completed in the first quarter or early
       in the second quarter of 2021, subject to the approval of QEP stockholders, the
       satisfaction of certain regulatory approvals and other customary closing conditions.

       Upon closing, Diamondback’s Board of Directors and executive team will remain
       unchanged. Additionally, the Company will continue to be headquartered in
       Midland, Texas.

       ADVISORS
       Goldman Sachs & Co. LLC is serving as lead financial advisor to Diamondback,
       with Moelis & Company also serving as financial advisor to Diamondback. Akin
       Gump Strauss Hauer & Feld LLP and Gibson, Dunn & Crutcher LLP are serving
       as legal advisors to Diamondback. Evercore and Latham & Watkins LLP are
       serving as exclusive financial advisor and legal advisor to QEP, respectively.


                                               ***

       22.     The Board has unanimously agreed to the Proposed Transaction. It is therefore

imperative that QEP’s stockholders are provided with the material information that has been

omitted from the Registration Statement, so that they can meaningfully assess whether or not the

Proposed Transaction is in their best interests prior to the forthcoming stockholder vote.

B.     The Materially Incomplete and Misleading Registration Statement

       23.     On January 22,     2021, QEP and Diamondback jointly filed the Registration

Statement with the SEC in connection with the Proposed Transaction. The Registration Statement

was furnished to the Company’s stockholders and solicits the stockholders to vote in favor of the

Proposed Transaction.     The Individual Defendants were obligated to carefully review the

Registration Statement before it was filed with the SEC and disseminated to the Company’s

stockholders to ensure that it did not contain any material misrepresentations or omissions.

However, the Registration Statement misrepresents and/or omits material information that is



                                                 7
         Case 1:21-cv-00651-NRB Document 1 Filed 01/25/21 Page 8 of 15




necessary for the Company’s stockholders to make an informed decision concerning whether to

vote in favor of the Proposed Transaction, in violation of Sections 14(a) and 20(a) of the Exchange

Act.

Omissions and/or Material Misrepresentations Concerning Financial Projections

       24.     The Registration Statement fails to provide material information concerning

financial projections by management and relied upon by Evercore in its analyses. The Registration

Statement discloses management-prepared financial projections for the Company which are

materially misleading. The Registration Statement indicates that in connection with the rendering

of its fairness opinion, that the management prepared certain non-public financial forecasts (the

“Company Projections” and “Diamondback Projections”) and provided them to the Board and

Evercore by management of both QEP and Diamondback with forming a view about the stand-

alone and pro forma valuations. Accordingly, the Registration Statement should have, but fails to

provide, certain information in the projections that managements provided to the Board and their

financial advisors. Courts have uniformly stated that “projections … are probably among the most

highly-prized disclosures by investors. Investors can come up with their own estimates of discount

rates or [] market multiples. What they cannot hope to do is replicate management’s inside view

of the company’s prospects.” In re Netsmart Techs., Inc. S’holders Litig., 924 A.2d 171, 201-203

(Del. Ch. 2007).

       25.     For the Company Projections and the Diamondback Projections, the Registration

Statement provides values for non-GAAP (Generally Accepted Accounting Principles) financial

metrics for fiscal years 2020 through 2024: (i) Adjusted EBITDA; (ii) Free Cash Flow and (iii)

Net Debt/Adjusted EBITDA as calculated by each of the Company’s and Diamondback’s financial

advisors, but fails to provide line items used to calculate these metrics or a reconciliation of these




                                                  8
         Case 1:21-cv-00651-NRB Document 1 Filed 01/25/21 Page 9 of 15




non-GAAP metrics to their most comparable GAAP measures, in direct violation of Regulation G

and consequently Section 14(a).

       26.     When a company discloses non-GAAP financial measures in a Registration

Statement that were relied on by a board of directors to recommend that stockholders exercise their

corporate suffrage rights in a particular manner, the company must, pursuant to SEC regulatory

mandates, also disclose all projections and information necessary to make the non-GAAP

measures not misleading, and must provide a reconciliation (by schedule or other clearly

understandable method) of the differences between the non-GAAP financial measure disclosed or

released with the most comparable financial measure or measures calculated and presented in

accordance with GAAP. 17 C.F.R. § 244.100.

       27.     The SEC has noted that:

               companies should be aware that this measure does not have a
               uniform definition and its title does not describe how it is calculated.
               Accordingly, a clear description of how this measure is calculated,
               as well as the necessary reconciliation, should accompany the
               measure where it is used. Companies should also avoid
               inappropriate or potentially misleading inferences about its
               usefulness. For example, "free cash flow" should not be used in a
               manner that inappropriately implies that the measure represents the
               residual cash flow available for discretionary expenditures, since
               many companies have mandatory debt service requirements or other
               non-discretionary expenditures that are not deducted from the
               measure.

       28.     Thus, to cure the Registration Statement and the materially misleading nature of the

forecasts under SEC Rule 14a-9 as a result of the omitted information in the Registration

Statement, Defendants must provide a reconciliation table of the non-GAAP measure to the most

comparable GAAP measure to make the non-GAAP metrics included in the Registration Statement

not misleading.

Omissions and/or Material Misrepresentations Concerning Financial Analyses



                                                  9
         Case 1:21-cv-00651-NRB Document 1 Filed 01/25/21 Page 10 of 15




       29.     With respect to Evercore’s Net Asset Value for QEP on a Standalone Basis, the

Registration Statement fails to disclose: (i) the inputs and assumptions underlying the discount

rates ranging from 8% to 35%; (ii) all line items used to calculate the Company’s pre-tax cash

flows; (iii) the range of total reserve value under each of the QEP Management Plan Pricing and

the NYMEX Strip Pricing scenarios; (iv) the present value of the future estimated effects of QEP’s

hedging based on the hedge portfolio as of December 9, 2020; (v) the present value of the general

and administrative expenses; (vi) the present value of cash taxes; and (vii) the number of fully

diluted outstanding shares of QEP common stock.

       30.     With respect to Evercore’s Discounted Cash Flow Analysis for QEP on a

Standalone Basis, the Registration Statement fails to disclose: (i) the terminal values of QEP; (ii)

the Company’s unlevered free cash flows and all line items used to calculate the Company’s

projected unlevered free cash flows; (iii) the inputs and assumptions underlying the use of the

implied perpetuity growth rate of 2.0% to 3.0%; (iv) the inputs and assumptions underlying the

discount rates ranging from 11.0% to 13.0%; (v) the basis and inputs for using the EBITDAX

multiples ranging from 3.5x to 4.5x to estimated 2024 EBITDAX; (vi) the number of fully diluted

outstanding of QEP common stock.

       31.     With respect to Evercore’s Premia Paid Analysis, the Registration Statement fails

to disclose the premia and transactions observed by Evercore in the analysis.

       32.     With respect to Evercore’s Discounted Cash Flow Analysis for Diamondback on a

Standalone Basis, the Registration Statement fails to disclose: (i) the terminal values of

Diamondback; (ii) the Diamondback’s unlevered free cash flows and all line items used to

calculate the Company’s projected unlevered free cash flows; (iii) the inputs and assumptions

underlying the use of the implied perpetuity growth rate of 2.0% to 3.0%; (iv) the inputs and




                                                10
           Case 1:21-cv-00651-NRB Document 1 Filed 01/25/21 Page 11 of 15




assumptions underlying the discount rates ranging from 11.0% to 9.0%; (v) the basis and inputs

for using the EBITDAX multiples ranging from 5.5x to 7.5x to estimated 2024 EBITDAX; (vi)

the number of fully diluted outstanding of Diamondback common stock; and the market value of

Diamondback’s direct interest in Viper Energy Partners and Rattler Midstream.

          33.   In sum, the omission of the above-referenced information renders statements in the

Registration Statement materially incomplete and misleading in contravention of the Exchange

Act. Absent disclosure of the foregoing material information prior to the special stockholder

meeting to vote on the Proposed Transaction, Plaintiff will be unable to make a fully-informed

decision regarding whether to vote in favor of the Proposed Transaction, and she is thus threatened

with irreparable harm, warranting the injunctive relief sought herein.

                                     CLAIMS FOR RELIEF

                                             COUNT I

                 On Behalf of Plaintiff Against All Defendants for Violations of
           Section 14(a) of the Exchange Act and Rule 14a-9 and 17 C.F.R. § 244.100

          34.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          35.   Rule 14a-9, promulgated by the SEC pursuant to Section 14(a) of the Exchange

Act, provides that proxy communications with stockholders shall not contain “any statement

which, at the time and in the light of the circumstances under which it is made, is false or

misleading with respect to any material fact, or which omits to state any material fact necessary in

order to make the statements therein not false or misleading.” 17 C.F.R. § 240.14a-9.

          36.   Defendants have issued the Registration Statement with the intention of soliciting

stockholder support for the Proposed Transaction.          Each of the Defendants reviewed and

authorized the dissemination of the Registration Statement and the use of their name in the



                                                 11
         Case 1:21-cv-00651-NRB Document 1 Filed 01/25/21 Page 12 of 15




Registration Statement, which fails to provide critical information regarding, among other things,

the financial projections that were prepared by the Company and relied upon by the Board in

recommending the Company’s stockholders vote in favor of the Proposed Transaction.

       37.     In so doing, Defendants made untrue statements of fact and/or omitted material

facts necessary to make the statements made not misleading. Each of the Individual Defendants,

by virtue of their roles as officers and/or directors, were aware of the omitted information but failed

to disclose such information, in violation of Section 14(a). The Individual Defendants were

therefore negligent, as they had reasonable grounds to believe material facts existed that were

misstated or omitted from the Registration Statement, but nonetheless failed to obtain and disclose

such information to stockholders although they could have done so without extraordinary effort.

       38.     Defendants were, at the very least, negligent in preparing and reviewing the

Registration Statement.     The preparation of a Registration Statement by corporate insiders

containing materially false or misleading statements or omitting a material fact constitutes

negligence.   Defendants were negligent in choosing to omit material information from the

Registration Statement or failing to notice the material omissions in the Registration Statement

upon reviewing it, which they were required to do carefully. Indeed, Defendants were intricately

involved in the process leading up to the signing of the Merger Agreement and the preparation and

review of strategic alternatives.

       39.     The misrepresentations and omissions in the Registration Statement are material to

Plaintiff, who will be deprived of her right to cast an informed vote if such misrepresentations and

omissions are not corrected prior to the vote on the Proposed Transaction. Plaintiff has no adequate

remedy at law. Only through the exercise of this Court’s equitable powers can Plaintiff be fully

protected from the immediate and irreparable injury that Defendants’ actions threaten to inflict.




                                                  12
           Case 1:21-cv-00651-NRB Document 1 Filed 01/25/21 Page 13 of 15




                                             COUNT II

 On Behalf of Plaintiff Against the Individual Defendants for Violations of Section 20(a) of
                                      the Exchange Act

          40.   Plaintiff incorporates each and every allegation set forth above as if fully set forth

herein.

          41.   The Individual Defendants acted as controlling persons of QEP within the meaning

of Section 20(a) of the Exchange Act as alleged herein. By virtue of their positions as directors of

QEP, and participation in and/or awareness of the Company’s operations and/or intimate

knowledge of the incomplete and misleading statements contained in the Registration Statement

filed with the SEC, they had the power to influence and control and did influence and control,

directly or indirectly, the decision making of QEP, including the content and dissemination of the

various statements that Plaintiff contends are materially incomplete and misleading.

          42.   Each of the Individual Defendants was provided with or had unlimited access to

copies of the Registration Statement and other statements alleged by Plaintiff to be misleading

prior to and/or shortly after these statements were issued and had the ability to prevent the issuance

of the statements or cause the statements to be corrected.

          43.   In particular, each of the Individual Defendants had direct and supervisory

involvement in the day-to-day operations of QEP, and, therefore, is presumed to have had the

power to control or influence the particular transactions giving rise to the Exchange Act violations

alleged herein, and exercised the same. The omitted information identified above was reviewed

by the Board prior to voting on the Proposed Transaction. The Registration Statement at issue

contains the unanimous recommendation of the Board to approve the Proposed Transaction. The

Individual Defendants were thus directly involved in the making of the Registration Statement.




                                                 13
         Case 1:21-cv-00651-NRB Document 1 Filed 01/25/21 Page 14 of 15




       44.     In addition, as the Registration Statement sets forth at length, and as described

herein, the Individual Defendants were involved in negotiating, reviewing, and approving the

Merger Agreement. The Registration Statement purports to describe the various issues and

information that the Individual Defendants reviewed and considered. The Individual Defendants

participated in drafting and/or gave their input on the content of those descriptions.

       45.     By virtue of the foregoing, the Individual Defendants have violated Section 20(a)

of the Exchange Act.

       46.     As set forth above, the Individual Defendants had the ability to exercise control

over and did control a person or persons who have each violated Section 14(a) and Rule 14a-9, by

their acts and omissions as alleged herein. By virtue of their positions as controlling persons, these

defendants are liable pursuant to Section 20(a) of the Exchange Act. As a direct and proximate

result of Individual Defendants’ conduct, Plaintiff will be irreparably harmed.

       47.     Plaintiff has no adequate remedy at law. Only through the exercise of this Court’s

equitable powers can Plaintiff be fully protected from the immediate and irreparable injury that

Defendants’ actions threaten to inflict.

                                     RELIEF REQUESTED

       WHEREFORE, Plaintiff demands injunctive relief in her favor and against the Defendants

jointly and severally, as follows:

       A.      Preliminarily and permanently enjoining Defendants and their counsel, agents,

employees and all persons acting under, in concert with, or for them, from proceeding with,

consummating, or closing the Proposed Transaction, unless and until Defendants disclose the

material information identified above which has been omitted from the Registration Statement;

       B.      Rescinding, to the extent already implemented, the Merger Agreement or any of

the terms thereof, or granting Plaintiff rescissory damages;


                                                 14
           Case 1:21-cv-00651-NRB Document 1 Filed 01/25/21 Page 15 of 15




          C.     Directing the Defendants to account to Plaintiff for all damages suffered as a result

of their wrongdoing;

          D.     Awarding Plaintiff the costs and disbursements of this action, including reasonable

attorneys’ and expert fees and expenses; and

          E.     Granting such other and further equitable relief as this Court may deem just and

proper.

                                           JURY DEMAND

          Plaintiff demands a trial by jury.

 Dated: January 25, 2021                            WOLF HALDENSTEIN ADLER
                                                    FREEMAN & HERZ LLP

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                                                  15
